
363 S.E.2d 225 (1988)
88 N.C. App. 369
STATE of North Carolina, ex rel. EMPLOYMENT SECURITY COMMISSION
v.
Grover C. FAULK t/a Blue Eagle Cab Company.
No. 874SC508.
Court of Appeals of North Carolina.
January 5, 1988.
*227 Bowen C. Tatum, Jr., Jacksonville, for respondent-appellant.
Chief Counsel T.S. Whitaker and Staff Atty. C. Coleman Billingsley, Jr., Raleigh, for petitioner-appellee.
EAGLES, Judge.
By his first assignment of error, respondent argues that the Commission's order overruling his exceptions is insufficient for its failure to state the reasons therefor. Respondent contends this case should be remanded for a more specific order. We disagree.
The procedure for determining whether unemployment insurance taxes are due is set out in G.S. 96-4. G.S. 96-4(m) provides, in part, that a party may appeal to the Commission from the initial decision by filing exceptions, stating the grounds and objections for each one. The statute does not require the Commission to state the reasons for its rulings. In fact, since the appealing party must state the grounds for its exceptions, the mere overruling of the exceptions provides the parties with the reason for the ruling. The Commission has no duty to state its reasons for rulings on exceptions to the decision.
Respondent next assigns as error the Commission's determination that the taxicab drivers were "employees." G.S. 96-8(6)(a) provides, in relevant part, that:
[T]he term `employee' ... does not include (i) any individual who, under the usual common-law rules applicable in determining the employer-employee relationship, has the status of an independent contractor or (ii) any individual (except an officer of a corporation) who is not an employee under such common-law rules....
The common law rules for determining whether an individual is an "employee" or an "independent contractor" are fully laid out in Hayes v. Elon College, 224 N.C. 11, 29 S.E.2d 137 (1944).
In Hayes, our Supreme Court stated that the decisive test in determining whether someone is an independent contractor is "the retention by the employer of the right to control and direct the manner in which the details of the work are to be executed." Id. at 15, 29 S.E.2d at 139. The court enunciated the following factors to consider in determining whether there is a relationship of employer and independent contractor:
The person employed (a) is engaged in an independent business, calling, or occupation; (b) is to have the independent use of his special skill, knowledge, or training in the execution of the work; (c) is doing a specified piece of work at a fixed price or for a lump sum or upon a quantitative basis; (d) is not subject to discharge because he adopts one method of doing the work rather than another; (e) is not in the regular employ of the other contracting party; (f) is free to use such assistants as he may think proper; (g) has full control over such assistants; and (h) selects his own time.
Id. at 16, 29 S.E.2d at 140. No particular one of these factors is controlling and the presence of all factors is not required to show the employed person is an independent contractor. Id.
Initially, we note that respondent excepted to the Commission's "finding of fact" that "Mr. Faulk has the right to control the operation of his taxi cabs but does not choose to exercise that right." The Commission's findings of fact are conclusive on appeal if supported by any competent evidence. G.S. 96-4(m); Yelverton v. Furniture Industries, 51 N.C.App. 215, 275 S.E.2d 553 (1981). Whether someone is an "employee" is a mixed question of law *228 and fact. Askew v. Tire Co., 264 N.C. 168, 141 S.E.2d 280 (1965). The question of fact is what the terms, express or implied, of the employment contract are; the question of law is whether those terms show the requisite degree of control. Id. The Commission's undisputed findings support its conclusion that respondent retained control over the manner and method which the drivers did their work and, therefore, that the drivers are "employees" of the company. To the extent that the excepted to finding purports to say that respondent retained the requisite degree of control over the drivers to legally classify them as "employees," it is a conclusion of law which is fully reviewable by this court.
Respondent owns, maintains, stores, and insures all of the taxicabs. He sets the work shifts within which the drivers must operate. Licenses and permits to engage in the taxi business are all in respondent's name. The drivers do not lease the cabs from respondent, nor do they have the power to hire assistants or obtain someone else to drive for them. Drivers must compute the rates charged to customers from a chart given to them by respondent. None of the drivers have any investment in the taxi cabs or the business.
Some of the Commission's findings tend to show that some of the factors in Hayes, supra, indicate the drivers are independent contractors. On balance, however, the Commission's findings clearly show that respondent maintained control over the manner and method of the drivers' work and that the drivers did not retain "that degree of independence necessary to require [their] classification as independent contractor[s] rather than employee[s]." Id. 224 N.C. at 16, 29 S.E.2d at 140.
Reco Transportation, Inc. v. Employment Security Comm., 81 N.C.App. 415, 344 S.E.2d 294, disc. rev. denied, 318 N.C. 509, 349 S.E.2d 865 (1986), cited by respondent, is readily distinguishable. In Reco, this court held that the Commission's findings of fact were insufficient to support its conclusion that certain truck drivers were employees. There, however, the drivers could, and did, secure contracts from other companies to haul freight, selected their own routes, and had the power to hire assistants. Moreover, the employer did not control the destination, date, and time of delivery for the freight; the drivers were not required to notify the employer as to their whereabouts at any time; and the drivers had an investment in some of the equipment on the vehicle.
Conversely, drivers for Blue Eagle Cab Company worked for no other companies. They all drove taxi cabs which were similarly painted and which were marked "Blue Eagle Cab Company," handed out business cards with only the company name printed on it, and had no separate telephone or other business listing. Furthermore, drivers could not hire assistants, had no investment in the business, and were required to inform respondent or other drivers whenever they took a fare outside the City of Jacksonville. Further, the testimony of both respondent and his drivers tended to show that they believed that respondent had control over the manner and method which the drivers worked and that any flexibility the drivers had was the result of respondent's failure to exercise control rather than any implied condition of the employment relationship.
While there are numerous decisions on whether a taxi cab driver is an employee or an independent contractor, the only North Carolina case we find is Alford v. Cab Co., 30 N.C.App. 657, 228 S.E.2d 43 (1976). There the court held the drivers to be independent contractors. In Alford, drivers rented the taxicabs for a flat, daily fee, kept all the fares and tips and could use the cab for their own purposes during the time it was rented. The employer had no supervisory control over the manner or method the driver chose to operate the cab. We believe Alford is clearly distinguishable. Moreover, cases from other jurisdictions support our decision, either by holding under similar facts that the taxicab drivers were employees, see ESC v. Laramie Cabs, Inc., 700 P.2d 399 (Wyo.1985); Yellow Cab Co. v. Industrial Com'n of Illinois, 124 Ill.App.3d 644, 80 Ill.Dec. 96, 464 N.E.2d 1079 (1984), aff'd sub nom. Yellow Cab Co. v. Jones, 108 Ill.2d 330, 91 *229 Ill.Dec. 643, 483 N.E.2d 1278 (1985); Read v. Warkentin, 185 Kan. 286, 341 P.2d 980 (1959); Redwine v. Wilkes, 83 Ga.App. 645, 64 S.E.2d 101 (1951), or by finding that the taxicab drivers were independent contractors based on facts and circumstances different from this case. See Romanski v. Prudential Property &amp; Cas. Ins., 356 Pa. Super. 243, 514 A.2d 592 (1986); Brunson v. Valley Coaches, Inc., 173 Ga.App. 667, 327 S.E.2d 758 (1985); Rubin v. Weissman, 59 Md.App. 392, 475 A.2d 1235 (1984).
The Commission's findings of fact are supported by competent evidence. Those findings support its conclusion that taxicab drivers for Blue Eagle Cab Co. are "employees" within the meaning of G.S. 96-8(6)(a). Accordingly, the judgment of the trial court affirming the decision of the Employment Security Commission is affirmed.
Affirmed.
MARTIN and PARKER, JJ., concur.
